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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                           Chapter 11

    FRANCHISE GROUP, INC., et al., 1                                 Case No. 24-12480 (JTD)

                                      Debtors.                       (Jointly Administered)

                                                                     Ref. Docket No. 259

      FIRST SUPPLEMENTAL DECLARATION OF ERIC W. KAUP IN SUPPORT OF
     DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER (I) AUTHORIZING THE
      RETENTION AND EMPLOYMENT OF HILCO REAL ESTATE, LLC AS REAL
        ESTATE CONSULTANT AND ADVISOR FOR THE DEBTORS, EFFECTIVE
        AS OF THE PETITION DATE; (II) WAIVING CERTAIN REQUIREMENTS
      IMPOSED BY LOCAL RULE 2016-2; AND (III) GRANTING RELATED RELIEF

             I, Eric W. Kaup, hereby state and declare as follows:

             1.     I am the Executive Vice President, Chief Compliance Officer and Special Counsel

of Hilco Trading, LLC, the managing member of Hilco Real Estate, LLC (“Hilco”), a real estate

consulting and advising firm.


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      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy’s Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260), Franchise Group Newco BHF, LLC (4123), Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J,
      Delaware, Ohio 43015.
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        2.       On November 26, 2024, I submitted that certain Declaration of Eric Kaup in

Support of Debtors’ Application for Entry of an Order (I) Authorizing the Retention and

Employment of Hilco Real Estate, LLC as Real Estate Consultant and Advisor for the Debtors,

Effective as of the Petition Date; (II) Waiving Certain Requirements Imposed by Local Rule 2016-

2; and (III) Granting Related Relief (the “First Declaration”) in support of the Debtors’

Application for Entry of an Order (I) Authorizing the Retention and Employment of Hilco Real

Estate, LLC as Real Estate Consultant and Advisor for the Debtors, Effective as of the Petition

Date; (II) Waiving Certain Requirements Imposed by Local Rule 2016-2; and (III) Granting

Related Relief (the “Application”) 2 [Docket No. 259], and attached thereto as Exhibit C.

        3.       I submit this first supplemental declaration (the “First Supplemental Declaration”)

on behalf of Hilco in further support of the Debtors’ Application, and to disclose an additional

Hilco connection to a Party in Interest that was discovered subsequent to submission of the First

Declaration.

        4.       The facts set forth in this First Supplemental Declaration are based upon my

personal knowledge, information, and belief, and upon records kept in the ordinary course of

business that were reviewed by me or other employees of Hilco under my supervision and

direction. If called as a witness, I would testify to the facts set forth in this First Supplemental

Declaration.

        5.       Subsequent to submission of the First Declaration, Hilco discovered that Hilco

Diligence Services, LLC, an affiliate of Hilco, has, prior to the Petition Date, provided field

examination services for JPMorgan Chase Bank, N.A. in connection with one or more of the




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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Application or the First Declaration, as the context makes applicable.



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Debtors. No amounts were owed by any of the Debtors to Hilco Diligence Services, LLC as of

the Petition Date.

       6.      From and after the submission of this First Supplemental Declaration, Hilco will

continue to conduct periodic inquiries regarding any subsequently arising connections to any Party

in Interest, and if at any time during the period of Hilco’s engagement Hilco should discover any

facts bearing on the matters described herein, Hilco will supplement the information contained in

this First Supplemental Declaration.


       I declare under penalty of perjury that the foregoing statements are true and correct to the

best of my knowledge, information and belief.

  Dated: January 23, 2025                           HILCO REAL ESTATE, LLC

                                                 /s/ Eric W. Kaup
                                                 Eric W. Kaup
                                                 Executive Vice President, Chief Compliance
                                                 Officer & Special Counsel, Managing Member




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